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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                EL DORADO DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                  Case No 1:22-cr-10014-008

MALAYSIA D. BENJAMIN                                                                DEFENDANT

                                             ORDER

       Before the Court is the Motion to Modify Conditions of Pretrial Release filed herein by the

Defendant MALAYSIA D. BENJAMIN. ECF No. 306. The Government has responded and

states the parties have reached an agreement on the proposed modification of Pretrial Release

Conditions. ECF No. 315. The Motion was referred to the undersigned for decision. ECF No.

308. The Court finds as follows:

       On March 2, 2023, a detention hearing was held, following which the Court granted pretrial

release with specific conditions, including the assignment of third-party custodian, her sister,

Shanequa Childs, in Las Vegas, Nevada, location monitoring, and home detention. ECF Nos. 163

and 167. Defendant has followed the pretrial release conditions and has maintained a steady job,

along with good behavior, the last eight (8) months. Defendant informs the Court her third-party

custodian is no longer able to serve in such a role because of the third-party custodian’s change of

circumstances. Defendant requests the requirement of a third-party custodian; location monitoring

and home detention be removed from her conditions of pretrial release. The Government initially

objected to the removal of location monitoring as a condition.

       In the Government’s response to the instant Motion, it indicates the parties have now

reached an agreement as to a modification of Defendant’s pretrial release conditions. ECF No.

315. The United States Probation office does not object to the proposed modifications. The Court


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finds the proposed modifications will assure the safety of the community and Defendant’s

appearance in this case.

       IT IS THEREFORE ORDERED that the Defendant’s Motion to Modify Conditions of

Pretrial Release (ECF No. 306) is GRANTED in part and DENIED in part. Defendant’s

conditions of pretrial release are modified to include the following:

       a. The requirement for a third-party custodian is removed. Ms. Shanequa Childs
          is relieved of any further duty as third-party custodian.

       b. The requirement for home detention is removed.

       c. The Defendant shall remain subject to location monitoring, specifically, Stand
          Alone Monitoring. Defendant shall have no residential curfew, home detention
          or home incarceration restrictions. However, Defendant shall comply with the
          travel and location restrictions imposed by the Court in its initial Order setting
          conditions of release.

All other conditions of release not modified herein shall remain in full force and effect.

       This matter remains set for jury trial on April 1, 2024. ECF No. 313.

       SO ORDERED this 21st day of November 2023.

                                                              /s/ Barry A. Bryant
                                                             HON. BARRY A. BRYANT
                                                             U.S. MAGISTRATE JUDGE




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